                                                          SO ORDERED.


                                                          Dated: July 1, 2021


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                                                          Eddward P. Ballinger Jr., Bankruptcy Judge
3                                                         _________________________________

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6
                          IN THE UNITED STATES BANKRUPTCY COURT
7
                               FOR THE DISTRICT OF ARIZONA
8

9    In re:                             )     In Chapter 7 Proceedings
                                        )
10   HOME OPPORTUNITY, LLC;             )     Case No. 2:21-BK-04924-EPB
                                        )
11                            Debtor.   )
                                        )
12
                             ORDER GRANTING APPLICATION TO
13                          RETAIN ATTORNEY FOR THE TRUSTEE

14              An Application To Retain Attorney For The Trustee having been

15   submitted to the Court, and

16              Good cause appearing therefrom.

17              IT   IS   HEREBY   ORDERED   appointing    TERRY      A.    DAKE,     LTD. as

18   attorney for the trustee pursuant to 11 U.S.C. §330(a)(1) and Bankruptcy

19   Rule 2016(a).

20              IT IS FURTHER ORDERED that no payment of legal fees and costs

21   shall be made except upon application and further order of the Court.

22                            DATED AND SIGNED ABOVE.

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